                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                 1:15-cr-71-MOC

 UNITED STATES OF AMERICA,                   )
                                             )
                                             )
                                             )
 Vs.                                         )                           ORDER
                                             )
 NAHUAN SOLANO,                              )
                                             )
                 Defendant.                  )



        THIS MATTER is before the Court on Defendant’s pro se Motion for Early Termination

of Probation/Supervised Release. (Doc. No. 336).

                                          ORDER

        IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                                 Signed: June 24, 2022




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